
The Disciplinary Review Board having filed with the Court its decision in DRB 16-339, concluding that SALEEMAH MALIKAH BROWN of HACEKENSACK, who was admitted to the bar of this State in 2008, should be censured for violating RPC 1.3 (lack of diligence), RPC 1.4(b) (failure to communicate with the client), RPC 3.4(g) (threatening to present criminal charges to obtain an improper advantage in a civil matter), RPC 7.1(a)(4) (making a false or misleading communication about the attorney's legal fee), and RPC 8.4(c) (conduct involving dishonesty), fraud, deceit or misrepresentation), and good cause appearing;
It is ORDERED that SALEEMAH MALIKAH BROWN is hereby censured; and it is further **167ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
